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        Hoff Affidavit – Table of Exhibits
Property Records (by Ex. #):                 Corporate Entity Records (By Ex. #):
1. Georgia Property                          23. Biltmore Development Group, LLC
2. Mexico Property                           24. Biltmore Records, LLC
3. Redford, MI Property                      25. Bleu Rose Investments, LLC
4. 16510 Biltmore Street, Detroit Property   26. First Round Management, LLC
5. Idlewild, MI Property                     27. The YBE Group, LLC
6. 1977 Woodbridge, Detroit Property         28. YBE Food Group, LLC
7. 6405 Penrod, Detroit Property             29. YBE Services Group, LLC
8. 11739 Heyden, Detroit Property            30. YBE Tobacco Group, LLC
9. Texas Property                            31. Biltmore Publishing Group, LLC
10. 12709 Cloverlawn, Detroit Property       32. 48235 Properties, LLC
11. 14206 Mark Twain, Detroit Property       33. Biltmore Entertainment Group, LLC
12. 15791 Murray Hill, Detroit Property      34. The Joseph Group & Associates, LLC
13. 16500 Biltmore, Detroit Property         35. William Smith & Associates
14. 16527 Biltmore, Detroit Property         36. Ross Drive, LLC
15. 16700 Biltmore, Detroit Property         37. YBE Property Group, LLC
16. 16717 Rutherford, Detroit Property       38. YBE Investments, LLC
17. 17125 W. McNichols, Detroit Property     39. Alter Ego Properties, LLC
18. 17207 W. McNichols, Detroit Property
19. 18901 W. McNichols, Detroit Property
20. 18921 W. McNichols, Detroit Property
21. Northville, MI Property
22. 18966 Sussex, Detroit Property
